                      Case 4:21-cv-00134-CDL Document 4-3 Filed 08/06/21 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                for the

                                                       Middle District of Georgia


     hi & L Farms, LLC; Shaun hlarris; Amie Harris                )
                                                                  )
                                                                  )
                                                                  )
                           Plaintiffs)                            )
                               V.
                                                                  )       Civil Action No. 4:21-cv-134-CDL
                                                                  )
    Silicon Ranch Corporation; SR Lumpkin, LLC;                   )
   Infrastructure And Energy Alternatives, Inc.; IEA              )
   Constructors, LLC; and, Westwood Professional                  )
                        Services, Inc.                            )
                          Defendants)                             )
                                                   SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address)

                                                IEA Constructors , LLC
                                                c/o CT Corporation System
                                                289 S. Culver Street
                                                Lawrenceville, GA 30046
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James E. Butler, Jr.
                            BUTLER WOOTEN & PEAK LLP
                                      2719 Buford Highway
                                      Atlanta, GA 30324



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                            CLERK OF COURT


Date:      8/6/2021                                                                 s/Elizabeth S. Long
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No. 4:21-cv-134-CDL


                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (name of individual and title, if any)
was received by me on (date)


           0 I personally served the summons on the individual at (place)

                                                                                  on (da te)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)

                                                                                  on (date)                            ; or

           0 I returned the summons unexecuted because                                                                               ; or

           0 Other (specify).




           My fees are$                             for travel and $                   for services, for a total of$          0.00


           I declare under penalty of pe1jury that this information is true.



Date:
                                                                                               Server's signature



                                                                                           Printed name and title




                                                                                               Server's address

Additional information regarding attempted service, etc :
